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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 UNITED STATES OF AMERICA                           CASE NOS.: 5:18-CR-448

      Plaintiff                                     JUDGE BENITA Y. PEARSON

 v.                                                 MOTION TO SUPPRESS AND
                                                    MOTION TO SUPPLEMENT
 PHILIP M. POPA, JR.,
                                                    Hearing requested
      Defendant

        Now comes the Defendant Philip M. Popa, Jr., by and through the undersigned counsel,

and hereby moves this Court to suppress the search conducted on July 18, 2018 and all the evidence

gained therefrom, including but not limited to computers and statements by the Defendant Philip

Popa. The warrant was not supported by probable cause, information contained in the Affidavit

was obtained in violation of Mr. Popa’s Fourth Amendment right, and the Affidavit contained false

and/or misleading statements. This Motion is supported by the Memorandum in Support, which

is attached hereto and incorporated herein by express reference. Additionally, Mr. Popa requests

leave to supplement this Motion upon receipt of an expert report from Tami Loehrs of Loehrs &

Associates, L.L.C. Simultaneous with the filing of this Motion, Mr. Popa is filing a motion to

have Ms. Loehrs appointed as an expert in this matter and to compel software necessary for her to

perform an independent forensic analysis.

                                             Respectfully submitted,
                                             WILLIAM T. WHITAKER CO. LPA
                                             /s/Andrea Whitaker
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was electronically filed this 11th day of

February, 2019. Notice of this filing will be sent to all parties by operation of the Court’s electronic

filing system.



                                                /s/ Andrea Whitaker
                                                Andrea Whitaker




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                               MEMORANDUM IN SUPPORT

       I.      FACTS

       Defendant John Popa is charged with one count receipt of visual depictions of real minors

engaged in sexually explicit conduct in violation of 18 U.S.C. § 2252(a)(2) and one count of

possessing child pornography in violation of 18 U.S.C. § 2252A(a)(5)(B). The Government’s

discovery response and Affidavit in Support of the Search Warrant refer to Freenet as the computer

software program used by law enforcement and an Administrative subpoena used to obtain the

physical location of an IP address.

       On July 17, 2018, Ryan D. Anschutz, a Task Force Officer in the Federal Bureau of

Investigation applied for a search warrant to search and seize evidence at 533 Redwood St SW,

Beach City, Ohio 44608. See Search Warrant and Affidavit attached hereto as Exhibit A. The

request for a warrant was supported by an affidavit signed by Agent Anschutz. In the affidavit,

the Affiant (Agent Anschutz) avers that there is probable cause to believe that a user of an IP

address at this address has received, possessed, and/or distributed child pornography. Ex., A,

Affidavit in Support of Search Warrant (“Affidavit”), ¶ 3. The Affidavit contains the Affiant’s

experience, a description of the place to be searched and the items to be seized, and definitions of

terms contained there.

       The Affidavit also contains an explanation of “Freenet.” According to the Affiant, it is “an

Internet-based, peer-to-peer (P2P) network that allows users to anonymously share files, chat on

message boards, and access websites within the network.” Affidavit, ¶7. The Affiant further

explains that in “order to access Freenet, a user must first download the Freenet software, which

is free and publicly available. The Freenet 'source code" - i.e., the computer programming code

that facilitates Freenel's operation - is also publicly available. In other words, Freenet is 'open




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source" software that may be examined and analyzed by anyone with the pertinent expertise or

knowledge.” Id. at ¶ 8. The Affidavit then goes on to explain a Freenet user may be an “original

requestor” of a file or one that “is merely forwarding the request of another user.” Id. at ¶ 12.

        This fact, and the Affiant’s knowledge of it, is of the upmost importance because it

indicates that some “requests” for files, including child pornography, happen without the users’

knowledge or consent. The Affiant recognizes that law enforcement must be able to distinguish

between the two types of requests in order to identify where there is probable cause that a user is

requesting illegal material. Id. The Affiant identifies a “peer-reviewed, publicly-available

academic paper describing the methodology of” a mathematical formula upon which he claims to

rely to make this important determination. Affidavit, ¶ 24. While the Government has provided

the paper to the undersigned, there has been no response to the request for evidence that the paper

was, in fact, peer-reviewed or found to be reliable in any way. The undersigned has been unable

to locate any such information in her own research.

        This is important because the Affiant recognizes that “Freenet attempts to hide which

computer uploaded a file into or downloaded a file from the network by making it difficult to

differentiate whether a request for a piece that comes in from a peer originated with that peer (Le.,

the peer was the "original requestor" of the file), or whether that peer was simply forwarding a

different peer's request.” Id. at ¶ 14. “Freenet attempts to hide the identity of the original requestor

by randomizing the initial number of times a request can be forwarded from one peer to another to

be either 17 or 18. Without this randomization, any time a user received a request for a piece of a

file that could be forwarded 18 times, the user would know that its peer was the original requestor

of the file.” Id.




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        According to the Affidavit, a “modified version of the Freenet software is available to

sworn law enforcement officers to assist in conducting Freenet investigations.” Id. at ¶ 20. Using

that modified version of Freenet, in April, 2018, Agent Anschutz identified “a computer running

Freenet software, with an IP address of 173.90.126.69, with 13.1 peers, requested from a law

enforcement computer 136 out of 1786 total pieces needed to assemble a file with a SHA1 digital

hash value of ATLOOVASIDQV6JPNOK4Z3MTKWGYFYS6W.” Affidavit, ¶ 27. In other

words, the computer at the suspect IP address reportedly requested less than .075% of a file. Officer

Anschutz then downloaded the completed file from another source and described the completed

file in the Affidavit. Id. This activity occurred for several additional files. Id. at ¶¶ 28-29.

        The Affidavit then indicates that “[u]sing publicly available search tools, law enforcement

determined that IP address 173.90.126.69 was controlled by Internet Service Provider ("ISP') Time

Warner Cable.” Id. at 32. The Affiant then issued an administrative subpoena sent “Time Warner

Cable for the date and times that the above-described files were downloaded” and found that the

“IP address was assigned to the account registered to ‘James Skelly,' at the PREMISES, email

addresswowsaddie@twc.com. Telephone number 330-324-4421, account number 206389203 and

the active IP address date of 12119/2017.” Id. at 33

        Thereafter, Agent Anschutz prepared the Affidavit in support of his request for a search

warrant on July 17, 2018. The Affidavit was submitted to and approved by a Magistrate Judge of

the United States District Court for the Northern District of Ohio that same day. On July 17, 2018,

law enforcement officers executed the search warrant at Mr. Popa’s residence and seized several

items, which were subsequently forensically analyzed by law enforcement agents.                    Law

enforcement officers also arrested and obtained a statement from Mr. Popa.




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       As a result of the Government’s investigation in this case, Mr. Popa was indicted on August

14, 2018 with the foregoing offenses. After receiving the Government’s initial discovery response,

defense counsel retained the services of a local expert at defense counsel’s expense. Consultation

with the expert and a review of the discovery identified several issues for pretrial motions.

However, the expert had little experience with Freenet. Mr. Popa’s counsel requested a copy of

the law enforcement modified version of Freenet. The Government indicated that the law

enforcement software was not discoverable.

       As the undersigned was preparing the pretrial motions, she was referred to Tami Loehrs of

Loehrs & Associates, L.L.C. as someone with potentially more experience with Freenet. The

undersigned immediately contacted Ms. Loehrs and provided her with a copy of the discovery to

determine if additional issues were significant to Mr. Popa’s defense. Ms. Loehrs reviewed the

discovery and provided an Affidavit of her initial findings. See Affidavit of Tami Loehrs (TL

Affidavit”) attached hereto as Exhibit B. Ms. Loehrs identified several issues heretofore unknown

to the undersigned and indicated that it would be necessary to conduct an independent forensic

examination of the electronic evidence that was seized in connection with the search warrants. Ms.

Loehrs has extensive experience conducting forensic examinations in child pornography cases and

is acutely familiar with the investigative aspects of such cases, including the Government’s use of

specialized forensic software. Simultaneously with the filing of this Motion, Mr. Popa is filing a

Motion to Suppress, with leave to supplement, and a Motion to Appoint Ms. Loehrs as an expert

for Mr. Popa.

       Based upon her review of the evidence as well as her prior experience with law

enforcement’s use of modified software programs, Ms. Loehrs opines that an independent forensic

examination of the law enforcement version of the Freenet Software is necessary in order to




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determine the validity and/or reliability of the Government’s forensic evidence and to assess the

information provided in the Affidavit in support of the search warrant. As she notes, in her

“forensic training, some of which has come directly from law enforcement, [she has] been taught

that [she] cannot rely on a tool (software) that has not been properly tested and validated by [her]

and is not available for testing and validation by [her] industry peers.” TL Aff., ¶ 21. Ms. Loerhs,

however, goes farther than to just note that it is best practice, as noted herein, she identifies specific

concerns regarding the law enforcement Freenet that require an independent analysis.

        Specifically, Ms. Loehrs notes that she has “worked on hundreds of cases throughout the

country involving law enforcement’s investigations of P2P and BitTorrent file sharing networks,

including the use of Freenet, which has brought to light serious issues with regard to the accuracy

and reliability of the proprietary software used by law enforcement to conduct these investigations

and whether that software is going beyond information that is publicly available as well as

reporting false information regarding files that do not exist on a suspect computer and/or do not

contain child pornography.” TL Aff, ¶ 7. She is concerned that, in “spite of this, Officer Anschutz

avers in his Affidavit that the IP address associated with Mr. Popa contains child pornography

based on incomplete files reported by his law enforcement tool and then describes completed files

that he downloaded from other sources.” Id. at 15.

        Agent Anschutz refers to the “law enforcement’s tool” used to analyze the network and an

allegedly peer reviewed article that allow him to come to the conclusion that is significantly more

probable than not that the suspect IP address was the original requestor of the child pornography

files. As noted above, this is crucial to a finding of probable cause because the Agent notes that

without such a tool, there is no way to know if a Freenet user is actually requesting anything illegal.

“Officer Anschutz provides no information regarding ‘law enforcements tool’, including whether




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that tool has been tested and validated, nor does he provide any log files created by the law

enforcement tool as foundation for his opinions.” T.L. Aff, ¶ 16.

          II.    LAW AND ARGUMENT

          The Fourth Amendment to the U.S. Constitution grants Defendants the right “to be secure

in their persons, houses, papers, and effects, against unreasonable searches and seizures.” This

right has been incorporated against the states through the Fourteenth Amendment and is reiterated

by Article 1, Section 10 of the Ohio Constitution. It is well-established that “all evidence obtained

by searches and seizures in violation of the Constitution is, by that same authority, inadmissible in

state court.” Mapp v. Ohio, 367 U.S. 643, 655 (1961). Put differently, any evidence seized pursuant

to an invalid search warrant must be excluded at trial. Franks v. Delaware, 438 U.S. 154, 155

(1978).

                 A. THE WARRANT WAS SUPPORTED BY INFORMATION OBTAINED IN
                    VIOLATION OF MR. POPA’S FOURTH AMENDMENT RIGHT TO BE
                    FREE FROM UNREASONABLE SEARCH AND SEIZURE

          The warrant to search the house and seize Mr. Popa’s computer was supported by

information obtained in violation of Mr. Popa’s Fourth Amendment right. In the Affidavit, the

Affiant indicates that he is requesting to search the particular address because an administrative

subpoena indicated that the address was the location of the IP address the Affiant was investigating.

He stated that “[u]sing publicly available search tools, law enforcement determined that IP address

173.90.126.69 was controlled by Internet Service Provider ("ISP') Time Warner Cable.” Id. at 32.

The Affiant then sent an administrative subpoena to “Time Warner Cable for the date and times

that the above-described files were downloaded” and found that the “IP address was assigned to

the account registered to ‘James Skelly,' at the PREMISES, email addresswowsaddie@twc.com.




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Telephone number 330-324-4421, account number 206389203 and the active IP address date of

12119/2017.” Id. at 33.

       Before the execution of the search warrant at issue in this case, the United States Supreme

Court issued its Decision in Carpenter v. United States (2018), 585 U.S. ____. Carpenter

reconsidered the third-party doctrine developed in Smith v. Maryland, 442 U.S. 735 (1979) in the

digital age. In Smith, the Supreme Court found that an individual did not have a reasonable

expectation of privacy in the numbers recorded by a pen registry. This decision established

the third-party doctrine: if information is freely given to a third party, the police are not required

to obtain a warrant. In Carpenter, the Court reversed the Sixth Circuit Court of Appeals and held

that a warrant was required for police to access cell site location information from a cell phone

company (the detailed geolocation information generated by a cellphone’s communication with

cell towers.) The Court recognized that there are circumstances when people have a valid

expectation of privacy in information that is stored with a third party.

       “[B]oth empirical research and public opinion polls suggest that the public has higher

expectations of privacy than those recognized by the courts in most Fourth Amendment

jurisprudence.” Christine Scott-Hayward et al., Does Privacy Require Secrecy? Societal

Expectations of Privacy in the Digital Age, 43 Am. J. Crim. L. 19, 49 (2015). Carpenter was a

continued extension of the Court’s recognizing this changing landscape. See, e.g., Riley v.

California, 134 S. Ct. 2473 (2014) (warrantless search incident to arrest may not include search of

digital information on the arrested person’s cell phone.) In fact, the Supreme Court in Riley

specified that one reason a warrant was required for searches of mobile telephones, even in a search

incident to arrest, was because “[a]n Internet search and browsing history, for example, can be




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found on an Internet-enabled phone and could reveal an individual’s private interests or concerns.”

Riley, 134 S. Ct. at 2490.

       In United States v. Jones, 565 U.S. 400, 417-18 (2012), Justice Sotomayor discussed the

third-party doctrine in these changing times. She found that the doctrine “is ill suited to the digital

age, in which people reveal a great deal of information about themselves to third parties” such as

“the URLs that they visit” and observed that “I for one doubt that people would accept without

complaint the warrantless disclosure to the government of a list of every Web site they had visited

in the last week, or month, or year.”

       Justice Gorsuch’s dissent in Carpenter would appear to make this abandonment of the

third-party doctrine even clearer. He expressed disappointment that the third-party doctrine was

not more broadly revisited. Although a dissent on procedural grounds, the opinion goes even

farther in distancing the Court from the third-party doctrine. It unambiguously agrees with the

majority that “the rationale of Smith and Miller is wrong” and recognized a property right interest

in information stored with third-parties.

       [T]he fact that a third party has access to or possession of your papers and effects
       does not necessarily eliminate your interest in them. Ever hand a private document
       to a friend to be returned? Toss your keys to a valet at a restaurant? Ask your
       neighbor to look after your dog while you travel? You would not expect the friend
       to share the document with others; the valet to lend your car to his buddy; or the
       neighbor to put Fido up for adoption. Entrusting your stuff to others is a bailment.
       A bailment is the “delivery of personal property by one person (the bailor) to
       another (the bailee) who holds the property for a certain purpose.” Black’s Law
       Dictionary 169 (10th ed. 2014); J. Story, Commentaries on the Law of Bailments
       §2, p. 2 (1832) (“a bailment is a delivery of a thing in trust for some special object
       or purpose, and upon a contract, expressed or implied, to conform to the object or
       purpose of the trust”). A bailee normally owes a legal duty to keep the item safe,
       according to the terms of the parties’ contract if they have one, and according to the
       “implication[s] from their conduct” if they don’t…A bailee who uses the item in a
       different way than he’s supposed to, or against the bailor’s instructions, is liable for
       conversion…

       These ancient principles may help us address modern data cases too. Just because
       you entrust your data—in some cases, your modern-day papers and effects—to a




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       third party may not mean you lose any Fourth Amendment interest in its
       contents. Whatever may be left of Smith and Miller, few doubt that e-mail should
       be treated much like the traditional mail it has largely supplanted— as a bailment
       in which the owner retains a vital and protected legal interest…
       Id. at 14 (Gorsuch dissenting).

Justice Gorsuch says, explicitly, that it is “entirely possible a person’s cell-site data could qualify

as his papers or effects under existing law.” Id. at 20 (Gorsuch dissenting).

       The administrative subpoena issued in the instant case for the information stored at Time

Warner is akin to the information at issue in Carpenter and, therefore, the Government obtained it

in violation of Mr. Popa’s Fourth Amendment right. Using a subpoena to acquire records related

to the IP address from a third party, Time Warner, constituted a Fourth Amendment search.

               B. THE AFFIDAVIT DOES NOT CONTAIN FACTS SUFFICIENT FOR
                  PROBABLE CAUSE AND CONTAINS MATERIAL
                  MISREPRESENTATIONS

       The Affidavit only indicates that a fraction of a file was downloaded by the IP address it

was investigating. This is not enough for an issuing Magistrate to find probable cause that a user

of that IP address was in possession of illegal material. The Affidavit indicates that the “suspect

IP address reportedly requested less than .075% of a file which would likely render that file non-

viewable and would not, in that incomplete state, contain child pornography.” TL Affidavit, ¶ 6.

The Affiant then indicates that he “downloaded the completed file from someone other than the

suspect and describes the content of the completed file in his Affidavit. This activity occurred for

several additional files, none of which the suspect reported having 100% of the content.” Id. The

Affidavit, however, does not provide any basis to believe that the entire file would be located on

the suspect computer except for the workings of a mathematical formula on which the Affiant

claims to have relied.

       The Affiant plainly states that there would be no basis to know or even assume that the IP

address he was investigating was the original requestor of illegal material without the mathematical




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formula he obtained from the “peer-reviewed” article. Affidavit, ¶ 24. He basis for relying on this

formula is the claim that the article is peer-reviewed. However, the article does not appear in any

journal the undersigned can locate nor does any research in to the article indicate that it was peer-

reviewed. This may be because the formula the article claims as sound is not. See Exhibit C.

While the attached article is published by Freenet, Mr. Popa will present additional evidence,

including the testimony of Ms. Loehrs, to support this position. Mr. Popa also seeks leave to

supplement this portion of the Motion to Suppress until after Ms. Loehrs has completed her review

and provided her report.

        In Franks v. Delaware (1978), 438 U.S. 154, the United States Supreme Court held that

probable cause cannot rely upon statements in an affidavit that are knowingly false or exhibit a

reckless disregard for truth. In Franks, the Supreme Court held that, if the removal of the false

statement or statements made in reckless disregard for the truth results in insufficient facts to

establish probable cause, the evidence seized under the warrant is subject to exclusion. Id.

Omissions count as a false statement if they are designed to mislead, or are made in reckless

disregard of whether they would mislead. Further, “the validity of the warrant must be assessed

on the basis of the information that the officers disclosed, or had a duty to discover and disclose.”

Marilyn v. Garrison (1987), 480 U.S. 79, 85. If there is a “substantial preliminary showing” that

a false statement was included in the affidavit, a Court must give a defendant an opportunity to

cross examine the Affiant and the defendant then must demonstrate by a preponderance of the

evidence that the misstatements were made knowingly, or with a reckless disregard for the truth.

Id.

        In the Affidavit in support of the search warrant, the Affiant claims that the formula that

allows him to point the address of Mr. Popa as the source of the request for illegal material is




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reliable because it is has been vetted by a peer-review process. This does not appear to be true.

Mr. Popa respectfully requests a hearing on this matter.

        III.   CONCLUSION

        Finally, as noted above, simultaneous with the filing of this Motion, Mr. Popa is requesting

that the Court appoint Tami Loehrs as an expert in this matter. Mr. Popa hereby requests leave to

supplement the Motion to Suppress until such time as Ms. Loehrs has completed her review of the

discovery and conducted an independent forensic analysis of the evidence seized by the

Government. While Mr. Popa understands that this matter has been pending, he seeks additional

time to allow the undersigned to provide effective assistance of counsel. He has previously waived

his right to a speedy trial and he is being held without bond so there are no concerns about his

attendance at hearings if there is a further delay. Mr. Popa requests a hearing on this Motion as

well.

                                              Respectfully submitted,
                                              WILLIAM T. WHITAKER CO. LPA

                                              /s/Andrea Whitaker
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